08-13555-mg      Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                       Pg 1 of 38


                                      EXHIBIT D

             SNR DENTON US LLP’S MONTHLY FEE STATEMENTS FOR THE
        FIFTH INTERIM PERIOD OF OCTOBER 1, 2011 THROUGH MARCH 6, 2012




                                        -2-
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08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 2 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 3 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 4 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 5 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 6 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 7 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 8 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 9 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 10 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 11 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 12 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 13 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 14 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 15 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 16 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 17 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 18 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 19 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 20 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 21 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 22 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 23 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 24 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 25 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 26 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 27 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 28 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 29 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 30 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 31 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 32 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 33 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 34 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 35 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 36 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 37 of 38
08-13555-mg   Doc 29194-14   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D11
                                    Pg 38 of 38
